     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 1 of 8


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3                          UNITED STATES DISTRICT COURT

4                         EASTERN DISTRICT OF CALIFORNIA

5

6     UNITED STATES OF AMERICA,             No. 2:15-cr-125-GEB
7                     Plaintiff,
8           v.                              RULINGS ON OBJECTIONS TO THE
                                            PRESENTENCE REPORT
9     BENJAMIN MACIAS,
10                    Defendant.
11

12                On January 25, 2019, Defendant Benjamin Macias filed

13   objections to the Presentence Report (“PSR”), which are decided as

14   follows.      Def.’s Mot. for Correction of the PSR (“Mot.”), ECF No.

15   210.

16                Macias objects to the two offense level enhancement in

17   paragraph 34 of the Presentence Report (“PSR”) imposed under United

18   States Sentencing Guideline (“U.S.S.G.”) § 3C1.2, arguing: “The

19   plain language of the USSG § 3C1.2 calls for flight ‘from a law

20   enforcement officer [,]’ [and t]here was no flight from a law

21   enforcement      officer.       Further,   the   Guidelines     require   a

22   ‘substantial risk of death or serious bodily injury to another

23   person;’ [Macias’s driving was under control; h]e just was driving

24   fast.”      Id. at 3:8-14.    Defendant further argues the video of his

25   driving shown during his criminal jury trial reveals “there was

26   not a substantial risk of death to anyone [,] nor was there a

27   substantial risk of serious bodily injury” as required for the

28   enhancement to apply.        Id. at 3:12-13.
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 2 of 8


1                The United States counters: “The video confirms the

2    Probation Officer’s factual conclusions about Macias’s erratic,

3    high-speed, and dangerous driving, which supports the ultimate

4    conclusion that Macias’s flight recklessly created a substantial

5    risk of death or serious bodily injury.”             Gov.’s Response to Def.’s

6    Formal Objs. and Sentencing Mem. (“Response”) at 2:5–7, ECF No.

7    212.

8                Section 3C1.2 states: “[i]f the defendant recklessly

9    created a substantial risk of death or serious bodily injury to

10   another person in the course of fleeing from a law enforcement

11   officer, increase by 2 levels.”               U.S.S.G. § 3C1.2.      “‘Reckless’

12   means a situation in which the defendant was aware of the risk

13   created by his conduct and the risk was of such a nature and degree

14   that to disregard that risk constituted a gross deviation from the

15   standard of care that a reasonable person would exercise in such a

16   situation.”       U.S.S.G. § 2A1.4, cmt. n.1.

17               The    trial    record   evinces     that    Macias   fled   from   law

18   enforcement officers seeking to apprehend him for drug trafficking

19   offenses.    Before the subject flight, Macias drove to a strip mall

20   parking lot to conduct a drug trafficking offense.                       After his
21   arrival,    he    correctly    realized       that   numerous     undercover    law

22   enforcement officers were present for the purpose of arresting him

23   for drug trafficking offenses.          He then fled from that area in his

24   vehicle.    A law enforcement agent in a hovering helicopter observed

25   Macias’s    flight    and    followed   him      until    he   was   subsequently

26   apprehended.
27               Macias entered a highway during his flight, and reached

28   the speed of approximately 90 miles per hour, notwithstanding the
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 3 of 8


1    risk this speed posed to other motorists.         Further when a motorist

2    hindered his speed in the number one lane (known as the passing

3    lane), he moved to the number three lane, and he returned to the

4    number one lane after he past slower motorists, and he engaged in

5    these erratic lanes changing maneuvers at least three times.              No

6    vehicle passed him.       Since it is obvious that Macias created a

7    substantial risk of death or serious bodily injury to another

8    person   during   his   flight   on   the   highway,   this   objection   is

9    overruled.

10               Macias also objects to paragraph 37 of the PSR arguing

11   he should have received the benefit from a two-offense level

12   reduction for his acceptance of responsibility under U.S.S.G. §

13   3E1.1(a), even though he was convicted by a jury of most of the

14   indicted charges since he admitted the facts underlying the drug

15   and gun possession charges in communications with his attorney.

16   Mot. at 5:8–12.    Macias also argues he should receive an additional

17   one level decrease in his offense level under U.S.S.G. § 3E1.1(b)

18   because he “timely notified authorities of his intention to enter

19   a plea of guilty.”      Id. at 6:9–11.

20               The United States counters: “the Sentencing Guidelines
21   require a more complete and sincere admission and/or offer than

22   what was provided [; and o]nly if Macias admits to the elements of

23   the crimes on the record would the government even consider not

24   categorically opposing Macias’s request for this rarely granted

25   post-trial benefit.”       Response at 3:8-12. However, during the

26   sentencing hearing the United States argued no evidence has been
27   presented demonstrating that Macias is entitled to have his offense

28   level reduced for acceptance of responsibility.          The United States
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 4 of 8


1    also opposes Macias’s request for additional one offense level

2    reduction under § 3E1.1(b) arguing this reduction is only awarded

3    to defendants who timely notified authorities of their intention

4    to plead guilty, which did not occur.           Id. at 3:13–15.       The United

5    States further argues: “this one-point adjustment may only be

6    granted upon the government’s formal motion at sentencing” and that

7    “[t]he government declines to so move.”              Id. at 3:16–17.

8                Macias has not “clearly demonstrate[d] acceptance of

9    responsibility     for   [all    relevant      conduct     involved    in]     his

10   offense[s].”    United States v. Johnson, 581 F.3d 994, 1000-01 (9th

11   Cir. 2009).      Macias’s communications and conduct in this case,

12   which   includes   his   demeanor   and      expressions,    evinces    that    he

13   “frivolously contests, relevant conduct that the court determines

14   to be true [and] inconsistent with acceptance of responsibility.”

15   U.S.S.G. § 3E1.1 cmt. n.1(A); see PSR ¶ 37 (“[T]here was no

16   indication in pretrial proceedings [evincing] that . . . defendant

17   was willing to stipulate to his guilt on Counts 1 through 7 and

18   10. Therefore, given . . . [that] defendant denied his guilt and

19   demanded a jury trial in this matter, a reduction for acceptance

20   of   responsibility      under   USSG       §3E1.1    is   not   warranted.”).
21   Therefore, these objections are overruled.

22               Macias also objects to the two-level enhancement in

23   paragraph 31 of the PSR imposed under U.S.S.G. § 2D1.1(b)(1),

24   arguing: “Application Note 11(A) to that Guideline provides . . .

25   ‘[t]he enhancement should be applied if the weapon was present,

26   unless it is clearly improbable that the weapon was connected with
27   the offense.’”     Mot. at 6:9–10, 19-23.        Macias contends since “he

28   was acquitted by a jury of 18 U.S.C. § 924(c), possession of a
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 5 of 8


1    firearm during and in relation to a drug trafficking crime . . .

2    the jury found that it was clearly improbable that the weapon was

3    connected with the offense.”                 Id. at 6:24–7:4.

4                  The       United      States        counters:        “Macias   ignores    the

5    difference between the phrases ‘in furtherance of’ (the language

6    in 924(c)) and ‘if the weapon was present . . . unless it is clearly

7    improbable that the weapon was connected with the offense’ (the

8    language in § 2D1.1(b)(1)).”                  Response at 3:24–4:1.              The United

9    States further argues “[t]hese two definitions are vastly different

10   . . . . The 924(c) language is harder to prove as it required that

11   the government prove that Macias intended to use the gun in

12   furtherance        of       the   drug   crime.            The   § 2D1.1(B)(1)   [language]

13   requires the mere presence of the gun, unless the gun—for some

14   provable reason—was clearly not connected to the offense.”                           Id. at

15   4:1–4.    The United States also argues that Macias “ignores the

16   difference [between] the standards of proof: at trial the standard

17   is   beyond    a    reasonable           doubt;       in    sentencing   proceedings,    it

18   requires only a preponderance of evidence.”                          Id. at 4:5–6.

19                 Section 2D1.1(b)(1) authorizes an increase in two offense

20   levels   “[i]f          a    dangerous      weapon          (including   a   firearm)   was
21   possessed” during the criminal offense. U.S.S.G. § 2D1.1(b)(1).

22   The enhancement applies “if the weapon was present, unless it is

23   clearly improbable that the weapon was connected with the offense.”

24   Id. cmt. n.11.          Paragraph 22 of the PSR states, in part: “During a

25   search of Macias’ vehicle [after he was apprehended on the date he

26   attempted to avoid being caught by law enforcement officers],
27   agents found a loaded .9mm Ruger semi-automatic handgun in the

28   glove compartment [of the vehicle Macias was driving], and 561
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 6 of 8


1    gross grams of cocaine concealed in a Lay’s potato chip bag in the

2    trunk [of that vehicle].” (footnote omitted).             Macias’s argument

3    that it is improbable that this firearm was connected to his offense

4    is belied by this factual record.          This firearm was loaded, and

5    was found in the glove compartment of the same vehicle where the

6    cocaine was found in the trunk.           Therefore, it is not clearly

7    improbable that the firearm was unconnected with the drug offense,

8    and this objection is overruled.

9                Macias also objects to paragraph 30 of the PSR arguing

10   his base offense level is unconstitutionally inflated because the

11   federal Drug Enforcement Agency (“DEA”) “engaged in . . . [conduct

12   which] rises to the level of sentencing manipulation.”                Mot. at

13   9:15–16.    Macias argues that “after three recorded and surveilled

14   drug transactions resulting in the sale of less than 400 grams of

15   cocaine . . ., the DEA and the government had more than enough

16   evidence to obtain convictions for charges against [Macias] of at

17   least   conspiracy    to   distribute     and   possess    with    intent   to

18   distribute cocaine and at least three counts of distribution of

19   cocaine.”    Id. at 9:11–14.      Macias contends “[t]he only apparent

20   reason for the DEA to conduct two more drug transactions . . . was
21   to obtain more cocaine in order to reach a higher sentence for

22   [Macias] and, because of a higher sentence, also to be able to

23   attempt to have him ‘flip’ on his sources of supply.”             Id. at 9:15–

24   18.

25               The   United    States   counters:     “To    find     sentencing

26   manipulation, the Court must find that the defendant proved that
27   agents engaged in later drug transactions solely to enhance the

28   defendant’s potential sentence.”        Response at 4:16–18.       The United
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 7 of 8


1    States also argues “Macias presents no evidence . . . that the DEA

2    engaged   in    additional   purchases      solely    to    enhance     [Macias’s]

3    potential      sentence”   and   “Macias    can     only    speculate    that   the

4    government may have had enough evidence to arrest and convict him

5    after three transactions.”        Id. at 5:7–10.

6                “To prove sentencing manipulation, [Macias] must show

7    that the officers engaged in the later drug transactions solely to

8    enhance his potential sentence.”             United States v. Boykin, 785

9    F.3d 1352, 1360 (9th Cir. 2015) (quotation marks omitted).                  Relief

10   under this doctrine may be granted in “‘only the extreme and unusual

11   case’ involving ‘outrageous governmental conduct.’”                United States

12   v. Boykin, 785 F.3d 1352, 1360 (9th Cir. 2015) (first quoting

13   United States v. Fontes, 415 F.3d 174, 180 (1st Cir. 2005); then

14   United States v. Beltran, 571 F.3d 1013, 1018–19 (10th Cir. 2009)).

15   Macias virtually argues that the sentencing manipulation doctrine

16   applies   whenever    an   individual      opines    that    a   law   enforcement

17   officer could have arrested the individual at an earlier time.

18   However, as the Ninth Circuit states in United States v. Baker, 63

19   F.3d 1478, 1500 (9th Cir. 1995):

20               [W]e decline to adopt a rule that, in effect,
                 would find “sentencing manipulation” whenever
21               the government, even though it has enough
                 evidence to indict, opts instead to wait in
22               favor of continuing its investigation. Such a
                 rule   “would   unnecessarily   and   unfairly
23               restrict the discretion and judgment of
                 investigators and prosecutors.” “Police . . .
24               must be given leeway to probe the depth and
                 extent of a criminal enterprise, to determine
25               whether coconspirators exist, and to trace
                 . . . deeper into the distribution hierarchy.”
26               Moreover, since the government bears the
                 burden of proving its case beyond a reasonable
27               doubt, it must be permitted to exercise its
                 own judgment in determining at what point in
28               an investigation enough evidence has been
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     Case 2:15-cr-00125-DJC-CKD Document 215 Filed 02/11/19 Page 8 of 8


1                obtained.

2    (citations omitted).     Macias has not shown that the law enforcement

3    officers engaged in the later drug transactions solely to enhance

4    his potential sentence under the sentencing manipulation doctrine.

5    Therefore, this objection is overruled.

6                These    rulings   on   Defendant’s   objections   “must   [be]

7    append[ed to] . . . any copy of the presentence report made

8    available to the Bureau of Prisons.”       Fed. R. Crim. P. 32(i)(3)(C).

9                The Clerk of Court shall include the Probation Department

10   in the service of these rulings.

11               Dated:    February 8, 2019

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